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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

IN RE:                                        )      CASE NO.: 17-72318-jrs
                                              )
ROBERT PAUL SPARRA, JR.                       )
KELLY ELIZABETH SPARRA,                       )      CHAPTER 7
                Debtors.                      )
                                              )      HONORABLE JAMES R. SACCA
VICTOR WARREN PROPERTIES, INC.,               )
               Movant,                        )
vs.                                           )
                                              )
ROBERT PAUL SPARRA, JR.                       )
KELLY ELIZABETH SPARRA,                       )
                Respondents,                  )
                                              )
M. DENISE DOTSON,                             )
                Trustee .                     )



                                 MOTION TO EXPEDITE HEARING

         NOW COMES VICTOR WARREN PROPERTIES, INC (“Movant”), a creditor and states:
                                                    1.
         The Debtor filed for chapter 13 relief of the United States Bankruptcy Code on December 29,
2017. The bankruptcy case was converted to a chapter 7 case on February 1, 2018.
                                                    2.
         Movant is the owner of certain real property known as 3606 Inman Drive, Atlanta, Georgia
30319 (“Property”) pursuant to a foreclosure sale held on January 2, 2018. A copy of the Deed Under
Power is attached hereto as Exhibit “A”.
                                                    3.

         On March 29, 2018 the bankruptcy case was dismissed (Docket No. 47) and Movant commenced

a dispossessory action in the Magistrate Court of DeKalb County (Case # 18D41601).

                                                    4.

         On April 11, 2018, this Court entered an Order Vacating Dismissal Order (Docket No. 51) and the
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bankruptcy case was reopened.

                                                   5.

       On April 13, 2018 Movant filed a Motion for Relief (Docket No. 53) to proceed with the

dispossessory action. A hearing date of May 8, 2018 was scheduled for the Motion for Relief.

                                                   6.

       On May 4, 2018, the Debtors filed an Urgent Motion for Request of Continuance (Docket No. 60).

                                                   7.

       At the hearing on May 8, 2018 the Debtors failed to provide a credible defense to the relief being

requested. The Debtors also requested a continuance and Robert Sparra stated that he was in the process

engaging a bankruptcy attorney. He further argued that should the stay be terminated, he was in jeopardy

of being removed from the Real Property the very next day.

                                                   8.

       This Court granted Movant’s Motion for Relief as to the dispossessory action. The Court

conditioned the termination of the automatic stay by preventing Movant from conducting the actual

physical eviction any earlier than June 15, 2018 which was 5 weeks from the hearing date on Movant’s

Motion for Relief.

                                                   9.

       On May 10, 2018 this Court entered an Order terminating the stay (Docket No. 61).

                                                  10.

       The Magistrate Court of DeKalb County scheduled a hearing for June 5, 2018 regarding the

dispossessory action.
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                                                   11.

        On May 30, 2018 and with full knowledge of the June 5, 2018 Magistrate Court hearing date, the

Debtors filed their First Amendment to His Verified Motion for Sanctions for Willful Violation of the

Automatic Stay (“Amended Motion for Sanctions”) (Docket No. 67).

                                                   12.

        On May 31, 2018, 2018 the Debtors filed a Motion to Set Hearing (Expedited) asking that the

Court consider its Amended Motion for Sanctions due to the impending “June, 6, 2018” hearing date.

(The Magistrate Court hearing was actually scheduled for “June 5”, 2018.)

                                                   13.

        The Amended Motion for Sanctions alleged that the Movant had violated the automatic stay by

filing the dispossessory action while the automatic stay was in place. It was further alleged that the

foreclosure advertisement was published in the newspaper after actual foreclosure date of January 2, 2018.

                                                   14.

        These allegations were proven to be blatantly false by the responses (Docket Nos. 70 and 71) filed

by Select Portfolio Servicing, Inc. and Movant.

                                                   15.

        On June 1, 2018 (Docket No. 69) this Court scheduled a hearing for June 4, 2018 on the Debtors’

Amended Motion for Sanctions.

                                                   16.

        On June 3, 2018, the Debtors withdrew their Amended Motion for Sanctions. Even a cursory

investigation by the Debtors or their counsel would have easily determined that the dispossessory was not

filed while the bankruptcy case was pending and that the foreclosure advertisement had run the

appropriate number of weeks. This is bolstered by the fact that the Debtor’s current motions contain no

such false allegations.
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                                                    17.

       On June 5, 2018 the Magistrate Court of DeKalb County held a hearing in the dispossessory

matter. The Debtor, Robert Sparra, appeared pro se at the hearing and argued that his bankruptcy attorney

was in the process of overturning the foreclosure by the filing of an adversary complaint.

                                                    18.

       The Magistrate Court rescheduled the hearing for June 19, 2018. The Magistrate Court stated that

on June 19, 2018 the Court would grant Movant’s request for a writ instanter unless the Debtor obtained

an appropriate order otherwise preventing the issuance of the writ.

                                                    19.

        On June 8, 2018, the Debtors filed a Motion for Sanctions (Docket No. 76) alleging that Movant

had violated the Order terminating the stay (Docket No. 61).

                                                    20.

       On June 8, 2018, the Debtors filed Adversary Proceeding (Case No. 18-051220) seeking, among

other things, a temporary restraining order as to Victor Warren Properties, Inc.

                                                    21.

        The Magistrate Court of DeKalb County has scheduled a hearing for June 19, 2018.

                                                    22.

       Given the nature and allegations in the Debtors’ most recent Motions for Sanctions and the relief

being requested in the Adversary Proceeding (Case No. 18-051220), Movant seeks a hearing on an

expedited basis from this Court to confirm that there is no bankruptcy impediment to the Movant
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proceeding with its scheduled hearing in the Magistrate Court and an actual eviction taking no earlier than

June 15, 2018.



       WHEREFORE, the Movant prays that this Court schedule an expedited or emergency hearing.


       RESPECTFULLY SUBMITTED this 11th day of June, 2018.


                                                 /s/ David C. Whitridge________
                                                 DAVID C. WHITRIDGE
                                                 Georgia State Bar No. 754793
For the Firm of
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                                  CERTIFICATE OF SERVICE

        This is to certify that on June 11, 2018 I served the foregoing MOTION TO EXPEDITE
HEARING upon Robert Paul Sparra, Jr., 3606 Inman Drive, Atlanta, Georgia 30319; Kelly Elizabeth
Sparra, 3606 Inman Drive, Atlanta, Georgia 30319; and M. Denise Dotson, Chapter 7 Trustee, M. Denise
Dotson, LLC, P.O. Box 435, Avondale Estates, Georgia 30003 and Bob J. Phillips, B. Phillips &
Associates PC, 327 Dahlonega Street, Suite 304, Cumming, GA 30040 with a copy of same in an
envelope with adequate postage affixed thereon to insure delivery by United States Mail.


                                                      /s/ David C. Whitridge___
                                                      DAVID C. WHITRIDGE
                                                      Georgia State Bar No. 754793
For the firm of
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